                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )       NO.3:10-00065
                                                )       JUDGE CAMPBELL
QUINCY MARUICE FUQUA                            )


                                         ORDER


      Pending before the Court is a Motion to Excuse Counsel from Motion Hearing on November

1, 2012 (Docket No. 173). The Motion is GRANTED.

      It is so ORDERED.

                                                 ____________________________________
                                                 TODD J. CAMPBELL
                                                 UNITED STATES DISTRICT JUDGE




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